Case 2:24-cv-00720-GMN-EJY Document 1-1 Filed 04/15/24 Page 1 of 1
JS 44 (Rev. 10/20) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
EDRINNA MOOSMAN Certified Aviation Specialists, Inc.; Frontier Airlines, Inc.
(b) County of Residence of First Listed Plaintiff Clark County of Residence of First Listed Defendant Clark
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
PRO PER PLAINTIFF

II. BASIS OF JURISDICTION (Place an “x” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[-]1 U.S. Government [#]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x] 1 i 1 Incorporated or Principal Place C14 [x]4
of Business In This State
[]2. U.S. Government (4 Diversity Citizen of Another State (12 [J 2 Incorporated and Principal Place (eS of 45
Defendant (Indicate Citizenship of Parties in Item III) . of Business In Another State
Citizen or Subject of a [st 3 O 3 Foreign Nation Oo 6 O 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Sui scriptions.
CONEALT TORTS _ FORFEITURE/PENALTY | __ BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane fe] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 1690 Other 28 USC 157 Br 372%(a))
140 Negotiable Instrument Liability (2) 367 Health Care/ 400 State Reapportionment
iy 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical TS 410 Antitrust ;
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability O 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY |_| 880 Defend Trade Secrets | 480 Consumer Credit ‘
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |_] 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal |_]720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) - 490 Cable/Sat TV -
196 Franchise Injury (_] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI _ 890 Other Statutory Actions
REAL PROPERTY PRISONER PETITIONS |_|790 Other Labor Litigation 865 RSI (405(g)) [_} 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act 895 Freedom of Information
230 Rent Lease & Ejectment _[*]| 442 Employment 510 Motions to Vacate ith (U.S. Plaintiff RECEIVED
240 Torts to Land 443 Housing/ Sentence Z fendant) rs ration
245 Tort Product Liability Accommodations 530 General ENTERED Party 899 SERN FEp)i QNrocedure
[_]290 All Other Real Property 445 Amer. w/Disabilities -[_] 535 Death Penalty [IMMIGRATION | ——}—— 09 [— PEREMGRUT of
Employment Other: 462 Naturalization Application COUNSEL PARTIE: icYNS \
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration tT Shi oa 0
Other 550 Civil Rights Actions Shate Statutes
448 Education 555 Prison Condition APR { 2 2024
560 Civil Detainee -
Conditions of
Confinement | CLERK US DISTHICT COURT
SLE ee
V. ORIGIN (Place an “X” in One Box Only) D OF NEVADA wh |
[x] Original [[]2. Removed from [] 3 Remanded from (714 Reinstated or [(] 5 Tr}nsferred from fultidistes '
Proceeding State Court Appellate Court Reopened aah r District
(speowy)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
14th Amendment
VI. CAUSE OF ACTION = —
Brief description of cause:
Employment Discrimination
VI. REQUESTED IN (_] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: — [*]Yes__[_]No
VIII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE 5
DATE SIGNATURE OF ATTORNEY OF RE

pits 2:24-cv-00720-GMN-EJY

RECEIPT # AMOUNT APPLYING IFP

